                 Case 8:18-po-07817-TMD Document 7 Filed 12/12/18 Page 1 of 1

                                 IN THE UNITED STATES DISTRICT COUIIT-ALED     ENTERED                                              b
                                     FOR THE DISTRICT OF MARYLAND _LOGGED r--RECEIVED

UNITED STATES OF AMERICA                                             *                                                 DEC 1 2 2018
                                                                     *                                                    AT GREENBELT
                    v.                                               *                                             ClERK, U.S. DISTRfCTCOURT
                                                                                                                      816TAI&f8F .,!sIR, LAI.S

                                                                     *                                                                           OEPUTV
    <; (IDeefJ           (;;; II vTl1M                               *
            Defendant                                                *
                                                                     *
                                                                               Docket NO:./l1D              39
                                                                     *
                                                        ************                                 Irf~ 7'f:>f)
                                                       PLEA AGREEMENT
                                                                                                       SPECIAL                I'ROCESSING
 ORIGINAL         CHARGE                  AMENDED CHARGE                       FINE                  ASSESSMENT                       FEE




                                                                               IS.


                                                                                                        TOTAL DUE:      $        R5.-
                                               ~WCli01J 10 he cOllll'leU!d    by   court   perso"nel)
     Paymem is due in full within ~~s          unless otherwise approved. Make your check or money order
payable to CLERK. U.S. DISTRlctCOURT.           Include your citation (ticket) number on check or money order and
oUlside of the court-supplied envelope. Please mail Defendant's copy and payment to:
        o    Centr.ll Violations 8ureau, 1'.0. 80X 71363, Philadelphia, I'A 19176-1363
                 (or you lIlay pay online at www.evh.useourts.~ov)
        o    Clerk, U.S. District Court, 101 W. LOlllhard Street, Baltimore, MI> 21201


        o        Waive Initial Appearance                      o   Continue to Obtain License

        P4       Continue for Pa])AY        5                  o   Continue        \0   Retain Attorney
        o        Set forT~O                                    o   New Court Dale:                                              _

        o
                                                                                     7~M;:
                 Dismissed by the Governmem                                                    at:                           a. m,

COMMENTS:                   P/.-e.t       JD
                                                '<3<=            A"~
             ~           __ ~\        b
'I ~             --=::>...}-/)                                                     b             r;;:k~
Defendant's Signature                                                    Assistant U.S. Attorney
                                                                                           If).' Id.'       1'9
Attorney for Defeudant                                                   Date

         OriXilllll-     Cou,-t                        Yel/ou' - De/em/nllt                               Pink -AUSA
